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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                           )           CHAPTER 7
                                                 )
HP/SUPERIOR, INC.,                               )           CASE NO. 14-71797-PWB
                                                 )
               Debtor.                           )


    CSE MORTGAGE LLC’S NOTICE OF UNPAID ADMINISTRATIVE EXPENSE

       COMES NOW CSE Mortgage LLC (“CSE”), and hereby provides notice of its unpaid

administrative expense claim, described in more detail below:

       1.      By order entered February 25, 2016 [Doc. 190], this Court approved a Chapter 11

administrative expense claim of the bankruptcy estate of this Debtor’s affiliate, Superior

Healthcare Investors, Inc. (“SHI”).

       2.      Pursuant to such order, SHI has an allowed administrative expense claim for post-

petition, pre-rejection rent in the amount of $429,778.80 and an allowed administrative expense

claim for post-petition real property taxes in the amount of $34,201.03.

       3.      SHI’s allowed administrative expense claim totals $463,979.83.

       4.      By order entered July 19, 2016 [Doc. 209], this Court approved a settlement

between CSE, the Chapter 7 Trustee in this case, the Chapter 7 Trustee in SHI’s case, and their

respective bankruptcy estates.

       5.       Pursuant to such settlement, the administrative expense claims allowed under

Doc. 190 have been assigned to CSE.          Accordingly, CSE is the holder of SHI’s allowed

administrative claim totaling $463,979.83.

       6.      This claim is unpaid as of the date hereof.




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       WHEREFORE, CSE requests payment of its administrative expense claim totaling

$463,979.83 at such time as the Chapter 7 Trustee has sufficient funds to pay Chapter 11

administrative expenses and such other relief as the Court deems just and proper.



                                                    Submitted by:

                                                    /s/ Kevin A. Stine
                                                    Kevin A. Stine
                                                    Georgia Bar No. 682588
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 11, 2021, I electronically filed the foregoing CSE
Mortgage LLC's Notice of Unpaid Administrative Expense with the Clerk of Court and
served the same via electronic mail upon the CM/ECF users registered to receive filings in this
case, including:

       S. Gregory Hays
       Hays Financial Consulting, LLC
       2964 Peachtree Rd, NW, Suite 555
       Atlanta, GA 30305

       Michael J. Bargar
       Arnall Golden Gregory LLP
       171 17th Street N.W., Suite 2100
       Atlanta, GA 30363-1031

       Office of the United States Trustee
       362 Richard B. Russell Building
       75 Ted Turner Drive, SW
       Atlanta, GA 30303



                                                  Submitted by:

                                                  /s/ Kevin A. Stine
                                                  Kevin A. Stine
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                                                  Counsel for CSE Mortgage LLC




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